Case 17-11043 Doc 23 Filed 10/05/17 Page 1 of 5

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uNITED s'rArEs BANKRUPTCY COURT
MIDDLE Disrnicr or NoR'rH CARoLiNA

fn the Matter of:

Averv Bradlev Greer\ Case No. 17-11043

DEBTOR'S CLA|Nl FOR PROPERTY EXE|V|F'TIONS

\._/-_/\_/~_/‘~_/‘~_r

Debtor.

l, Aveg Braclley Green , the undersigned debtor, hereby claim the following property as exempt pursuant to ll U.S.C. §
522(b)(3)(A), (B), and (C), the Laws of the State of North Carolina, and non-bankruptcy federal law.

m Checl( if the debtor claims as exempt any amount of interest that exceeds $125,000 in value in property that the
debtor or a dependent of the debtor uses as a residence

l. REAL OR PERSONAL PROPERTY USED BY DEBTOR OR DEBTOR'S DEPENDENT AS RESIDENCE OR
BURIAL PLOT. (NCGS lC-lGOl(a)(l)).
Select appropriate exemption amount below:

 

 

 

fy_Tj Total net value not to exceed $35,000.

l:l Total net value not to exceed $60,000. (Debtor is unmarried, 65 years of age or older, property was previously
owned by debtor as tenant by the entireties or joint tenant with rights of survivorship, and former co-owner is
deceased.)

Description of Market Mtg. Holder or Lien Arnt. Mtg. Net
Property & Address Value Holder(s) or Lien Value
7103 Nlac:kintosh P|aee
Summerfie|d, NC 27353 Bank of America Home Loan
Gui|ford goumy 524,000.00 servicing 12,900.00 511,100.00
(a) Total Net Value $ 511,100.00
Total Net Exemption $ 35,000.00
(b) Unused portion of exemption, not to exceed $5,000. $ 0.00
(This amount, if any, may be carried forward and used to claim
an exemption in any property owned by the debtor. (NCGS
lC-l601(a)(2)).
2. TENANCY BY THE ENT]RETY. The following property is claimed as exempt pursuant to ll U.S.C. § 522(b)(3)(]3) and
the laws of the State of Noith Carolina pertaining to property held as tenants by the entirety.
Description of Market Mtg. Holder or Lien Amt. Mtg. Net
Property & Address Value Holder(s) or Lien Value
-NONE-
3. MOTOR VEHICLE. (NCGS lC-loOl(a)(B). Only one vehicle allowed under this paragraph with net value claimed as
exempt not to exceed $3,500.)
Year, Make, Market l _ Net
Model of Auto Value lawn HGldE"(S) Amt- Llen Value
2011 Harley Davidson Road
Glide 8,000 miles 12,000-00 12.000-00
(a) Statutory allowance $ 3,500.00
(b) Amount from l (b) above to be used in this paragraphl
(A part or all ofl (b) may be used as needed.) 5 0.00
Total Net Exemption $ 3,500.00
4. TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL. BOOKS. (NCGS lC-l601(a)(5). Used by debtor or

debtor's dependentl Total net value of all items claimed as exempt not to exceed $2,000.)

Case 17-11043 Doc 23 Filed 10/05/17 Page 2 of 5
910 509/13)

 

Market Net
Description Value Lien Holder(s) Amt. Lien Value
-NONE-
(a) Statutoiy allowance $ 2,000
(b) Amount nom l (b) above to be used in this paragraph
(A part or all of l (b) may be used as needed.) $ 0-00
Total Net Exemption $ 0.00
5. PERSONAL PROPERTY USED F`OR HOUSEHOLD OR PERSONAL PURPOSES NEEDED BY DEBTOR OR

DEB'I‘OR'S DEPENDENTS. (NCGS lC»léOl(a)(¢t). Debtor's aggregate interest, not to exceed SS,OOO in value for the
debtor plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents.)

 

 

 

 

 

Market Net
Description Va|ue Lien Holder(s) Amt. Lien Va|ue
C|othinglPersona| |tems 500.00 500.00
Furniture, appliances, etc. 1,500.00 1,500.00
TVs, Computer, Etc. 1,000.00 1,000.00
Total Net Value 3,000.00
(a) Statutory allowance for debtor EB 5,000
(b) Statutoly allowance for debtor's dependents: 0 dependents at
$ l ,GOO each (not to exceed 34,000 total for dependents) 0-00
(c) Amount from l(b) above to be used in this paragrapli.
(A part or all ofl (b) may be used as needed.) 0-00
Total Net Exemption ___M
6. LIFE INSURANCE. (As provided in Article X, Section 5 ofNortb Carolina Constitution.)
Name of Insurance Company\Policy No.\Narne of lnsured\Policy Date\Narne of Beneficiary
-NONE-
7. PROFESSIONALLY PRESCRIBED HEALTH AIDS (FOR DEBTOR OR DEBTOR'S DEPENDENTS). (NCGS
lC-léOl(a)('/'). No limit on value or number of items.)
Description:
-NONE-
8. DEBTOR'S RIGHT TO RECEIVE FOLLOWING COMPENSATION: (NCGS lC-léOi(a)(S). No limit on number or
amount.)
A. $ ____M|§_ Compensation for personal injury to debtor or to person whom debtor was dependent for support
B. $ _____-_NON§_-_ Cornpensation for death of person of whom debtor was dependent for supportl
C. $ M Compensation from private disability policies or annuities
9. lNDlVIDUAL RETlREMENT PLANS AS DEFINED IN THE lNTERNAL REVENUE CODE AND ANY PLAN

TREATED IN THE SAME MANNER AS AN INDIVIDUAL RET!REMENT PLAN UNDER THE INTERNAL
REVENUE CODE. (NCGS lC-lGOl(a)(Q). No limit on number or amount.) AND OTHER RETIREMENT FUNDS
DEFlNED IN ll U.S.C. § 522(b)(3)(c).

Detailed Description Value
-NONE-

 

 

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Case 17-11043 Doc 23 Filed 10/05/17 Page 3 of 5
91C (09/13)

10. COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE.
(NCGS lC-lGOl(a)(lO). Total net value not to exceed $25,000 and may not include any funds placed in a college saving
plan within the preceding 12 months not in the ordinary course ofthe debtor's financial affairs This exemption applies only
to the extent that the funds are for a child ofthe debtor and will actually be used for the child's college or university

 

 

expenses.)
Detailed Description Value
-NONE-

l l. RETIREMENT BENEFITS UNDER A RETIREMENT PLAN OF OTHER STATE AND GOVERNMENTAL

UNITS OF OTHER STATES, TO THE EXTENT THOSE BENEFITS ARE EXEMPT UNDER THE LAWS OF
THAT STATE OR GOVERNMENTAL UNIT. (NCGS lC-léOl(a)(l l). NO limit on amount.)

Description:
-NON E-

12. ALIMONY, SUPPORT, SEPARATION MAINTENANCE AND CHILD SUPPORT. (NCGS lC-léOi (a)(lQ). No limit
on amount to the extent such payments are reasonably necessary for the support of Debtor or dependent of Debtor.)

Description:
-NONE-

ll ANY OTHER REAL. OR PERSONAL PROPERTY WHICH DEBTOR DESIRES TO CLAIM AS EXEMPT THAT
HAS NOT PREV]OUSLY BEEN CLAIMED ABOVE. (NCGS lC-lGOl(a)(Z). The amount Claimed may not exceed the
remaining amount available under paragraph l(b) which has not been used for other exemptions.)

 

 

 

Market Net
Description Value Lien Holder(s) Amt. Lien Value
(a) Total Net Value of property claimed in paragraph 13. $ 0.00
(b) Total amount available from paragraph l(b). $ 0.00
(c) Less amounts from paragraph l(b) which were used in the following paragraphs:
Paragraph 3(b) 5 0.00
Paragraph 4(b) $ 0.00
Paragraph 5(c) 5 0.00
Net Balance Available from paragraph l(b) S 0.00
Total Net Exemption $ 0.00

]4. OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

TOTAL VALUE OF PROPERTY CLAIMED AS EXEl\/IPT $ 0.00
15. EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY F`EDERAL LAW:

-NONE-

TOTAL VALUE OF` PROPERTY CLAll\/IED AS EXEMPT $ 0.00

l6. RECENT PURCHASES

Tlte exemptions provided in NCGS lC-lé()l(a)(Z), (3), (4), and (5) are inapplicable with respect to tangible personal property

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Case 17-11043 Doc 23 Filed 10/05/17 Page 4 of 5

9lC (09/]3)

purchased by the debtor less than 90 days preceding the initiation ofjudgment collection proceedings or the filing ofa petition for
bankruptcy, unless the purchase of the property is directly traceable to the liquidation or conversion of property that may be exempt
and no additional property was transferred into or used to acquire the replacement property.

List tangible personal property purchased by the debtor less than 90 days preceding the filing ofthe bankruptcy petition:

 

 

 

Market Net
Description Value Lien Holder(s) Amt. Lien Value
-NONE-
DATE October 5, 2017 lsi Avery Brad|ey Green
Avery Bradley Green
Debtor

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Case 17-11043 Doc 23 Filed 10/05/17 Page 5 of 5

UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

In Re: Case No. B-l7~11043 7G

Green, Avery Bradley

CERTIFICATE OF SERVICE

The undersigned attorney' hereby' certifies that he served the attached
document{s) shown below upon the creditors listed below by causing said
document(s) to be deposited in a post~paid, properly addressed wrapper in a post
office or official depository under the exclusive care and custody of the United
States Postal Service and/or by electronic means as allowed by the Court.

This the 5th day of October 2017

by: /s/Phillip E. Bolton
Phillip E. Bolton
Attorney for Petitioner(s)
604 Green Valley Road, Ste 406
Greensboro, NC 27408
l336) 294-7777

DOCUMENT(S) SERVED:
Debtor's Claim For Property Exemptions
William Miller, Bankruptcy Administrator
Middle District of NC

lOl S. Edgeworth Street
Greensboro, NC 27401

(All Parties Of Record In Case)

